












NUMBER 13-06-358-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


GERARDO GONZALEZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 28th District Court 


of Nueces County, Texas.


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MEMORANDUM OPINION



Before Justices Yañez, Rodriguez, and Garza


Memorandum Opinion Per Curiam



	Appellant, GERARDO GONZALEZ, perfected an appeal from a judgment entered
by the 28th District Court of Nueces County, Texas,  in cause number 05-CR-0085-A. 
Appellant has filed a motion to dismiss the appeal.  The motion complies with Tex. R.
App. P. 42.2(a).

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that appellant's motion to dismiss the appeal
should be granted.  Appellant's motion to dismiss the appeal is granted, and the appeal
is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and filed this

the 9th day of November, 2006.


